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                                  IN THE UNITED STATES DISTRICT COURT
                                  FOR THE NORTHERN DISTRICT OF TEXAS
                                            DALLAS DIVISION

ROBERT FERGUSON,                                                    §
                                                                    §
                     Plaintiff,                                     §
                                                                    §
v.                                                                  §
                                                                                    Case No. __________________
                                                                    §
SERVICENOW, INC.,                                                   §
                                                                    §
                     Defendant.                                     §
                                                                    §

                                    PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

          COMES NOW, Robert Ferguson (“Ferguson” or “Plaintiff”) and files this Original

Complaint against ServiceNow, Inc. (“ServiceNow” or “Defendant”) and would respectfully show

the Court the following:

                                                              I.
                                                         THE PARTIES

          1.         Plaintiff Robert Ferguson is an individual who resides in Collin County, Texas. His

date of birth was September 29, 1964.

          2.         Defendant ServiceNow, Inc. is a foreign corporation doing business in the State of

Texas including in Dallas County.

                                                             II.
                                                        JURISDICTION

          3.         The court has jurisdiction pursuant to 42 U.S.C. § 2000, et. seq. because federal

causes of action are plead under the Age Discrimination in Employment Act of 1967. 29 U.S.C. §

621, et seq. (hereinafter “ADEA”) and because there is diversity of citizenship between the parties

and the amount in controversy is in excess of $75,000.00.




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                                                               III.
                                                              VENUE

          4.         Venue of this action is governed by 28 U.S.C. § 1391 and is proper in the Northern

District of Texas and in this Division because Plaintiff was employed by Defendant in this District

and this Division and the incidents giving rise to this lawsuit occurred in this District and this

Division.

                                                               IV.
                                                             SERVICE

          5.         Defendant ServiceNow, Inc. is a California corporation doing business in the State

of Texas. Defendant may be served through its registered agent in Texas, Cogency Global, Inc., at

1601 Elm Street, Suite 4360, Dallas, Texas 75201, or wherever it may be found.

                                  V.
      DEFENDANT’S HOSTILE ENVIRONMENT AND ITS DISCRIMINATORY AND
            RETALIATORY TREATMENT OF PLAINTIFF (SUMMARY)

          6.         Robert Ferguson began working with ServiceNow as an Enterprise Account

Executive in February 2018. In his three years of service with the Company, Ferguson had a

documented track record of success—meeting or exceeding his sales quota, out-performing his

younger colleagues, and achieving great results for ServiceNow. Yet, near the end of Ferguson’s

employment, he was subjected to a hostile environment and discrimination due to his age by his

two new managers, Addie Scott (“Scott”) and Tom Elder (“Elder”), leading him to file an internal

complaint of age discrimination.

          7.          Rather than address fairly his age discrimination complaint, the Company sat idly

by and watched as Scott and Elder, the two managers about whom Ferguson complained, retaliated

against Ferguson by, among other things, giving his lucrative accounts to younger, less-qualified

employees, subjecting him to different performance standards than his colleagues, and ultimately

terminating his employment for a stated reason that was pretextual. Ferguson’s position was filled

by a younger individual, Milton Skaggs.

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                                              VI.
                              FACTS RELEVANT TO PLAINTIFF’S CLAIMS

          8.         ServiceNow is a cloud-based software platform that helps companies manage IT

systems and workflow throughout their enterprise.

          9.         In February 2018, Ferguson was hired by ServiceNow as an Enterprise Account

Executive.

          10.        Toward the end of his employment with the Company, Ferguson’s work was

supervised by Scott, Ferguson’s boss, and by Elder, the Assistant Vice President for the Central

Region, to whom Scott reported. Neither Scott nor Elder were involved in hiring Ferguson.

Ferguson at all Times was an Exemplary Employee

          11.        Throughout his employment with the Company, Ferguson worked tirelessly to meet

(and exceed) his sales quota, manage lucrative customer accounts, and otherwise add value to the

Company. Specifically, Ferguson achieved or exceeded his quota for two out of his three years of

service, which placed him on the Company’s “Top 100 List of Representatives.” Moreover,

Ferguson was tasked with managing accounts for prominent customers such as Keurig Dr. Pepper,

Inc., Alcon Laboratories Inc., and Fluor Corp., among others.

Scott and Elder Begin Targeting and Scapegoating Ferguson

          12.        On November 5, 2020, Scott, Ferguson’s boss, contacted Ferguson regarding

certain customer feedback and Ferguson’s supposed need to “further adopt the [Company’s] value

based selling” method. However, Scott’s “concerns” about Ferguson’s performance were based

on inaccurate statements and unrelated data. Further, such “concerns” were raised almost

immediately after Ferguson gave Scott negative feedback on an employee survey.

          13.        Given the inaccuracies in Scott’s email, Ferguson contacted Heidi Columbo

(“Columbo”) of ServiceNow’s human resources department to discuss his concerns. On a call with

Columbo on November 6, 2020, Ferguson disputed each of Scott’s alleged “concerns” with

Ferguson’s performance. Ferguson also told Columbo that Scott had perpetuated a hostile and
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toxic work environment and that the timing of Scott’s criticism was suspiciously close to Scott’s

receipt of the employee survey that Ferguson completed.

          14.        On November 9, 2020, Ferguson and Scott met virtually to discuss her “concerns.”

During the call, Ferguson sent Scott multiple emails that directly contradicted the points in her

November 5, 2020 email. Scott did not acknowledge them. Instead, Scott criticized Ferguson as

being “old school.” This was a regular refrain from both Scott and Elder in that throughout 2019

and 2020, both Scott and Elder repeatedly stated that Ferguson and his sales methods were “too

old school.”

          15.        On December 4, 2020, Ferguson was interviewed by the Company’s human

resources department in connection with an investigation regarding an employee complaint against

Scott. During the interview, Ferguson was candid about his negative experiences working for

Scott.

          16.        From December 2, 2020, through December 6, 2020, Scott pressured Ferguson to

contact the Chief Information and Chief Human Resource Officers of Keurig Dr. Pepper to share

ServiceNow’s business case for human resources onboarding. However, Ferguson had recently

spoken with the head of IT Procurement for Keurig Dr. Pepper who indicated that they did not

care about the “value” of the service; rather, in order to close a deal, they needed some kind of

special offer from ServiceNow. Yet, to appease Scott, Ferguson contacted Keurig Dr. Pepper as

requested.

          17.        Scott’s strategy backfired. On a call with Scott and Ferguson on December 8, 2020,

the Chief Technology Officer for Keurig Dr. Pepper expressed frustration with ServiceNow’s

decision to push its agenda on them rather than provide a special offer as requested. It became

clear that a deal would not go through in 2020.

          18.        On December 9, 2020, Scott again contacted Ferguson and accused him (falsely)

of failing to make progress as outlined in her November 5, 2020 email. Scott even suggested that

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Ferguson was not the right “fit for what is expected for this role in 2021.” Ferguson was shocked

when he received Scott’s email, considering that he had consistently out-performed his younger

teammates (including those who did in fact have performance issues). Further, much of Scott’s

email criticized Ferguson for the communications with Keurig Dr. Pepper, despite the fact that

those communications were sent upon Scott’s instruction. Ferguson soon realized that this was just

one of Scott’s many attempts to push Ferguson out of ServiceNow or to get him to quit.

Nonetheless, Ferguson agreed to meet with Scott to hear her thoughts on how to proceed.

Ferguson’s Internal Age Discrimination Complaint Against Scott and Elder

          19.        In the meantime, on December 14, 2020, Ferguson spoke with Columbo to make a

formal complaint against Scott and Elder for age discrimination. Throughout 2019 and 2020, both

Scott and Elder repeatedly stated that Ferguson and his sales methods were “too old school.”

Further, Ferguson had observed Scott treat at least two of her older direct reports so poorly that

they were no longer with the Company (and Ferguson is aware of at least two more older

employees who received similar treatment). As a result, Ferguson told Columbo that he was

worried that Scott or Elder or both would retaliate against him for lodging a complaint.

          20.        On December 16, 2020, Ferguson, Scott, and Columbo met to discuss Scott’s

December 9, 2020 email. During this call, Ferguson pointed out the inaccuracies in Scott’s email.

They also discussed a potential win-win approach that would allow Ferguson to work elsewhere

in the Company. Columbo reminded Scott about the Company’s anti-retaliation policy, and Scott

agreed that she would not hinder Ferguson from switching positions.

Scott and Elder Begin Retaliating Almost Immediately

          21.        On December 17, 2020, however, Ferguson asked Scott to formally support him

for a manager position on the new financial services team. Scott never responded which clearly

hindered his ability to switch positions. Though Ferguson initially heard back from the hiring vice



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president for the financial services team almost immediately, he received no further

communications from that team after he requested support from Scott.

          22.        Throughout the rest of December 2020, Scott—with Columbo’s knowledge—

repeatedly added meetings to Ferguson’s schedule and insisted that many tasks be completed

“immediately.” Ferguson’s younger colleagues were not required to attend added meetings and

were not subjected to such treatment and oversight. Rather, they were allowed, unlike Ferguson,

to freely use vacation time and paid time off during the holiday season.

          23.        Realizing that Scott was continuing to claim there were alleged “performance

concerns,” Ferguson, on December 29, 2020, sent Scott and Columbo multiple emails evidencing

his strong performance and success at ServiceNow. Specifically, Ferguson highlighted the

following:

          (a)     A track record of achieving or exceeding his sales quota, including: (1) 148% of quota

                  in 2018; (2) 100% of quota in quarter 3 of 2019; and (3) 100% of quota in 2020,

                  including 206% and 222% in quarters 1 and 2, respectively.

          (b)     Receipt of a “Circle of Success Award” in August 2020, which was based on net

                  promoter scores received from customers regarding value they had received.

          (c)     A recent Value Management Report, which showed “value motion” for several of

                  Ferguson’s accounts and that he was ranked third among his colleagues for use of

                  value, thus establishing that Ferguson did utilize ServiceNow’s value selling

                  techniques.

          (d)     Clear ability and willingness to utilize modern selling techniques as evidenced by:

                 (i)     Twitter analytics from December 2020, showing that Ferguson’s tweets earned

                         an average of 31 impressions per day and over 2,800 impressions in the

                         preceding 91 days; and,



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                (ii)     A report from 2020 in which Ferguson was ranked 30th in the Company for

                         “clicks, likes, comments, and shares” for his use of social media platforms in

                         connection with sales.

          24.        Despite receiving the foregoing information, neither Scott nor Columbo

acknowledged or seemed to care about Ferguson’s successful track record at ServiceNow.

          25.        On December 30, 2020, Ferguson spoke with a newer teammate, Kenneth Turnage

(“Turnage”), who stated that he had recently talked to Elder, the Central Division AVP. Turnage

told Elder that Ferguson had been an incredibly helpful mentor. In response, Elder told Turnage

that he wanted him (Turnage) to have another representative—Brian Flaherty (“Flaherty”)—as a

mentor because Ferguson was “too old school.” Turnage later informed Ferguson that Ferguson’s

account plans contained far greater detail and better data on initiatives than Flaherty’s account

plans.

          26.        On or about January 14, 2021, Ferguson learned that the manager position on the

financial services team had been filled by someone younger with less experience than Ferguson.

Shortly thereafter, Ferguson applied for one of the financial services representative roles. Ferguson

received no response. In fact, Ferguson repeatedly did not hear back, despite being promised

otherwise, from Company recruiters and hiring managers with respect to several other positions

within the Company that he was pursuing and for which he was highly qualified. At that point,

given Ferguson’s qualifications and proven track record, Ferguson knew he had been blackballed.

          27.        On January 21, 2021, Scott and Elder informed Ferguson that they intended to take

the Keurig Dr. Pepper account away from him. When asked why they intended to do so, Elder’s

sole stated reason was that “ServiceNow is moving to industry verticals.” Further, when Ferguson

asked how he would receive credit for his in-flight deals, Scott and Elder refused to provide any

response.



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          28.        On January 25, 2021, Scott and Elder took away seven (7) of Ferguson’s ten (10)

accounts, including Keurig Dr. Pepper, resulting in a 70% turnover. They “replaced” those

accounts with failing retail accounts, like JCPenney.

          29.        Despite Ferguson’s requests, ServiceNow did not provide a policy or guidance on

how to transition customers to other representatives and how (or if) Ferguson would receive credit

for his in-flight deals. However, Ferguson’s review of ServiceNow’s forecast system indicated that

he would only receive 50% of commissions for his previous accounts, and none of his efforts

would count toward his 2021 quota. Put simply, Scott and Elder took three years of Ferguson’s

hard work and gave almost all rewards resulting from such efforts to other, younger

representatives.

          30.        It became abundantly clear to Ferguson that the fears he expressed to Columbo

regarding potential retaliation had come true. Indeed, Scott’s impetus to retaliate against Ferguson

for claiming that she was discriminating against him (and other older employees) because of age

was plainly within her character as Scott had been described in surveys by other Company

employees as “bullying,” “abusive,” “evil,” “mean-spirited,” self-centered,” “narcissistic,”

“extremely calculated,” “malicious,” and “condescending.”

          31.        On February 4, 2021, Columbo asked to set up a meeting with Ferguson and Scott

for the stated purpose of discussing supposed “performance issues.”

Ferguson is Terminated for a False Reason Less than Two (2) Months After his Internal
Complaint and Replaced by a Younger, Less-Qualified Individual

          32.        The meeting took place via a zoom conference call on February 8, 2021, which was

less than two months after he had complained that Scott and Elder had engaged in age

discrimination. Ferguson was informed that Scott and Elder had decided to fire him and that he

was being fired because of “performance.” It was made clear that this was the only stated reason.

In light of Ferguson’s actual performance relative to countless younger colleagues who were not


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fired, the stated reason was both preposterous and false. Ferguson later learned that he was replaced

by a younger, less-qualified individual.

                                                         VII.
                                                   CAUSES OF ACTION

 FIRST CAUSE OF ACTION: AGE DISCRIMINATION IN VIOLATION OF THE AGE
                 DISCRIMINATION IN EMPLOYMENT ACT
          33.        Pursuant to Federal law, Ferguson pleads a cause of action against ServiceNow for

age discrimination in violation of the ADEA (“ADEA”). 29 U.S.C. § 621, et seq. The allegations

contained in all of the paragraphs of this Complaint are hereby realleged for all purposes and

incorporated herein with the same force and effect as set forth verbatim herein. Ferguson further

shows as follows:

          34.        At all relevant times, Ferguson was a member of a protected class, as he was over

 40 years of age. See 29 U.S.C. § 631(a).

          35.        In violation of the ADEA, ServiceNow discriminated against Ferguson because of

 his age in connection with the terms, conditions, and privileges of employment and limited

 Ferguson in a manner that deprived him or tended to deprive him of employment opportunities

 and adversely affected his status as an employee, including without limitation, discriminatory

 termination, discriminatory reduction of compensation (by transferring lucrative accounts to

 younger employees), discriminatory denial of transfer opportunities and discriminatory actions

 designed to ensure no transfer opportunities would be made available to him even though he was

 highly qualified for each such transfer position. See 29 U.S.C. § 623(a)(1)-(a)(2). ServiceNow

 effectuated these discriminatory acts by and through Scott, Elder, and Columbo, among other

 employees.

          36.        Despite the fact that Ferguson consistently met or exceeded his sales quota and

 sought to mentor new teammates, Scott and Elder repeatedly criticized Ferguson as “too old

 school.” Further, when presented with numerous examples of Ferguson’s ability and willingness

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 to utilize modern sales techniques, ServiceNow responded by taking Ferguson’s most lucrative

 customer accounts and giving them to younger, less-qualified representatives. This meant that

 Ferguson would only receive 50% of commissions from those accounts and that other, younger

 representatives would reap the benefits of three years of Ferguson’s efforts. Then, to add insult

 to injury, after purportedly agreeing to a “win-win approach” in which Ferguson could work

 elsewhere in the Company, Scott and Elder actively prevented him from obtaining other positions

 at ServiceNow for which he was highly qualified. ServiceNow then wrongfully terminated

 Ferguson under the false and pretextual guise of “performance” and relaced him with a younger,

 less qualified individual.

          37.        Ferguson has met all procedural prerequisites of bringing these age discrimination

 claims. Ferguson filed EEOC charges related to these violations on April 20, 2021, and has

 obtained a Right to Sue letter from the EEOC relating to these charges. Further, Ferguson is within

 all applicable statutes of limitations for bringing this action.

          38.        As a direct and proximate result of ServiceNow’s unlawful discrimination,

 Ferguson has suffered and will continue to suffer damages including, but not limited to, lost

 wages, lost employment benefits, lost PTO, loss of earning capacity, inconvenience, and injury

 to Ferguson’s reputation and professional standing.

          39.        In addition, Ferguson is entitled to recover liquidated damages in the amount of

 back pay to be awarded because the facts demonstrate that ServiceNow engaged in unlawful

 discriminatory practices with malice or reckless indifference to Ferguson’s federally-protected

 rights. See 29 U.S.C. § 626(b). Accordingly, Ferguson asks that liquidated damages be awarded

 against ServiceNow.

          40.        Further, Ferguson was required to retain attorneys to prosecute this action and has

 agreed to pay the retained attorneys a reasonable fee. Pursuant to 29 U.S.C. §§ 216(b) and 626(b),

 Ferguson seeks recovery of his reasonable and necessary attorney’s fees and costs.

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   SECOND CAUSE OF ACTION: AGE DISCRIMINATION IN VIOLATION OF THE
              TEXAS COMMISSION ON HUMAN RIGHTS ACT
          41.        Pursuant to Texas state law, Ferguson pleads a cause of action against ServiceNow

for age discrimination in violation of the Texas Commission on Human Rights Act (“TCHRA”).

TEX. LAB. CODE § 21.001, et seq. The allegations contained in all of the paragraphs of this

Complaint are hereby realleged for all purposes and incorporated herein with the same force and

effect as set forth verbatim herein. Ferguson further shows as follows:

          42.        At all relevant times, Ferguson was a member of a protected class, as he was 40

years of age or older. See TEX. LAB. CODE § 21.101.

          43.        At all relevant times, Ferguson was qualified for the position he held and the

positions he sought to obtain.

          44.        In violation of the TCHRA, ServiceNow discriminated against Ferguson because

of his age in connection with the terms, conditions, and privileges of employment and limited

Ferguson in a manner that deprived him or tended to deprive him of employment opportunities

and adversely affected his status as an employee. See TEX. LAB. CODE § 21.051(1)-(2).

ServiceNow effectuated these discriminatory acts by and through Scott, Elder, and Columbo,

among other employees.

          45.        Ferguson has met all procedural prerequisites of bringing these TCHRA claims.

Ferguson filed a Charge of Discrimination relating to these violations on April 20, 2021 and has

obtained, or will obtain, a right to sue letter from the Texas Workforce Commission (“TWC”)

relating to these state claims. Further, Ferguson is within all applicable statutes of limitations for

bringing these state claims.

          46.        As a proximate result of ServiceNow’s unlawful discrimination, Ferguson has

suffered and will continue to suffer damages including, but not limited to, lost wages, lost

employment benefits, lost PTO, loss of earning capacity, inconvenience, injury to Ferguson’s

reputation and professional standing, and emotional pain.
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          47.        In addition, Ferguson is entitled to recover compensatory and/or punitive damages

from ServiceNow because the facts demonstrate that ServiceNow engaged in unlawful

discriminatory practices with malice or with reckless indifference to Ferguson’s state-protected

rights. See TEX. LAB. CODE § 21.2585. Accordingly, Ferguson asks that compensatory and

exemplary damages be awarded against ServiceNow.

          48.        Further, Ferguson was required to retain attorneys to prosecute this action and has

agreed to pay the retained attorneys a reasonable fee. Pursuant to § 21.259 of the Texas Labor

Code, Ferguson seeks recovery of his reasonable and necessary attorney’s fees and costs.

        THIRD CAUSE OF ACTION: RETALIATION IN VIOLATION OF THE AGE
                    DISCRIMINATION IN EMPLOYMENT ACT
          49.        Pursuant to Federal law, Ferguson pleads a cause of action against ServiceNow for

retaliation in violation of the ADEA. 29 U.S.C. § 621, et seq. The allegations contained in all of

the paragraphs of this Complaint are hereby realleged for all purposes and incorporated herein with

the same force and effect as set forth verbatim herein. Ferguson further shows as follows:

          50.        In violation of the ADEA, ServiceNow—through Scott, Elder, and Columbo

(among others)—retaliated against Ferguson because he opposed and reported age discrimination

in violation of the ADEA. See 29 U.S.C. § 623(d). Specifically, after enduring a hostile

environment due to his age, after witnessing other older employees suffer at the hands of Scott and

Elder, and after repeatedly being criticized as “too old school” and being held to different standards

than his younger colleagues (many of whom he out-performed), Ferguson made a formal

complaint to ServiceNow that Scott and Elder were engaging in age discrimination.

          51.        Shortly thereafter, Scott and Elder forced Ferguson to work over the holidays when

his colleagues were given time off, ripped away 7 of his 10 lucrative accounts, gave such accounts

(and most of the financial reward for his efforts) to other representatives (many of them younger),

and repeatedly interfered with or purposefully failed to support (or both) Ferguson’s efforts to

transfer to other positions in the Company for which he was highly qualified. Thereafter and less
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than two (2) months after he made his formal age discrimination complaint against Scott and Elder,

he was informed that Scott and Elder had decided to terminate him for “performance.” This was

the only stated reason and it was both false and pretextual for the reasons stated above and, most

damning of all, because just five (5) weeks before he was fired for the stated reason of

“performance,” he had completed calendar year 2020 at 100% (99.77%). Scott and Elder then

replaced Ferguson with a younger, less qualified individual.

          52.        Even after his termination, Scott and Elder, on information and belief,

communicated with at least one and perhaps more than one prospective employer of Ferguson to

prevent Ferguson from obtaining other employment. Their communications were successful,

violated the Company’s policies, and were in retaliation for Ferguson having previously

complained about their age discrimination against him.

          53.        Ferguson has met all procedural prerequisites of bringing this retaliation claim.

Ferguson filed a Charge of Discrimination on April 20, 2021 that identified these retaliation claims

and has obtained a Right to Sue letter from the EEOC relating to these charges. Further, Ferguson

is within all applicable statutes of limitations for bringing this action.

          54.        As a proximate result of ServiceNow’s unlawful retaliation, Ferguson has suffered

and will continue to suffer damages including, but not limited to, lost wages, lost employment

benefits, loss of PTO, loss of earning capacity, inconvenience, and injury to Ferguson’s reputation

and professional standing.

          55.        In addition, Ferguson is entitled to recover liquidated damages in the amount of

back pay to be awarded because the facts demonstrate that ServiceNow engaged in unlawful

discriminatory practices with malice or reckless indifference to Ferguson’s federally-protected

rights. See 29 U.S.C. § 626(b). Accordingly, Ferguson asks that liquidated damages be awarded

against ServiceNow.



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          56.        Further, Ferguson was required to retain attorneys to prosecute this action and has

agreed to pay the retained attorneys a reasonable fee. Pursuant to 29 U.S.C. §§ 216(b) and 626(b),

Ferguson seeks recovery of his reasonable and necessary attorney’s fees and costs.

    FOURTH CAUSE OF ACTION: RETALIATION IN VIOLATION OF THE TEXAS
                  COMMISSION ON HUMAN RIGHTS ACT
          57.        Pursuant to Texas state law, Ferguson pleads a cause of action against ServiceNow

for retaliation in violation of the TCHRA. See TEX. LAB. CODE § 21.055. The allegations contained

in all of the paragraphs of this Complaint are hereby realleged for all purposes and incorporated

herein with the same force and effect as set forth verbatim herein. Ferguson further shows as

follows:

          58.        In violation of the TCHRA, ServiceNow—through Scott, Elder, and Columbo

(among others)—retaliated against Ferguson as outlined above because he reported and filed a

complaint regarding age discrimination in violation of the TCHRA. See TEX. LAB. CODE §

21.055(3).

          59.        Ferguson has met all procedural prerequisites of bringing this TCHRA claim.

Ferguson filed a Charge of Discrimination relating to these retaliation claims on April 20, 2021

and has obtained, or will obtain, a Right to Sue letter from the TWC relating to these claims.

Further, Ferguson is within all applicable statutes of limitations for bringing these retaliation

claims.

          60.        As a proximate result of ServiceNow’s unlawful retaliation, Ferguson has suffered

and will continue to suffer damages including, but not limited to, lost wages, lost employment

benefits, lost PTO, loss of earning capacity, inconvenience, injury to Ferguson’s reputation and

professional standing, and emotional pain.

          61.        In addition, Ferguson is entitled to recover compensatory and/or punitive damages

from ServiceNow because the facts demonstrate that ServiceNow engaged in unlawful

discriminatory practices with malice or with reckless indifference to Ferguson’s state-protected
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rights. See TEX. LAB. CODE § 21.2585. Accordingly, Ferguson asks that compensatory and

exemplary damages be awarded against ServiceNow.

          62.        Further, Ferguson was required to retain attorneys to prosecute this action and has

agreed to pay the retained attorneys a reasonable fee. Pursuant to § 21.259 of the Texas Labor

Code, Ferguson seeks recovery of his reasonable and necessary attorney’s fees and costs.

   FIFTH CAUSE OF ACTION: HOSTILE ENVIRONMENT IN VIOLATION OF THE
               AGE DISCRIMINATION IN EMPLOYMENT ACT
          63.        Pursuant to Federal law, Ferguson pleads a cause of action against ServiceNow for

hostile environment in violation of the ADEA. 29 U.S.C. § 621, et seq. The allegations contained

in all of the paragraphs of this Complaint are hereby realleged for all purposes and incorporated

herein with the same force and effect as set forth verbatim herein. Ferguson further shows as

follows:

          64.        Ferguson, while employed by ServiceNow, was continually exposed to a hostile

work environment because of his age, which included being regularly subject to ridicule for being

“too old school,” having accounts removed from him and given to younger colleagues, and

enduring baseless criticism for “performance issues” despite his impressive track record compared

to his younger colleagues. Despite Ferguson’s complaints, ServiceNow took no action to remedy

the hostile work environment which existed. The hostile work environment persisted until

Ferguson was terminated from employment on February 8, 2021.

          65.        Ferguson has met all procedural prerequisites of bringing this hostile environment

claim. Ferguson filed EEOC charges related to these violations on April 20, 2021 and has obtained

a Right to Sue letter from the EEOC relating to these charges. Further, Ferguson is within all

applicable statutes of limitations for bringing this action.

          66.        As a proximate result of ServiceNow’s hostile work environment, Ferguson has

suffered and will continue to suffer damages including, but not limited to, lost wages, lost


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employment benefits, lost PTO, loss of earning capacity, inconvenience, and injury to Ferguson’s

reputation and professional standing.

          67.        In addition, Ferguson is entitled to recover liquidated damages in the amount of

back pay to be awarded because the facts demonstrate that ServiceNow engaged in unlawful

discriminatory practices with malice or reckless indifference to Ferguson’s federally-protected

rights. See 29 U.S.C. § 626(b). Accordingly, Ferguson asks that liquidated damages be awarded

against ServiceNow.

          68.        Further, Ferguson was required to retain attorneys to prosecute this action and has

agreed to pay the retained attorneys a reasonable fee. Pursuant to 29 U.S.C. §§ 216(b) and 626(b),

Ferguson seeks recovery of his reasonable and necessary attorney’s fees and costs.

   SIXTH CAUSE OF ACTION: HOSTILE ENVIRONMENT IN VIOLATION OF THE
               TEXAS COMMISSION ON HUMAN RIGHTS ACT

          69.        Pursuant to Ferguson pleads a cause of action against ServiceNow for hostile

environment in violation of the TCHRA. See TEX. LAB. CODE § 21.001, et seq. The allegations

contained in all of the paragraphs of this Complaint are hereby realleged for all purposes and

incorporated herein with the same force and effect as set forth verbatim herein. Ferguson further

shows as follows:

          70.        Ferguson, while employed by ServiceNow, was continually exposed to a hostile

work environment because of his age as outlined above.

          71.        Ferguson has met all procedural prerequisites of bringing this TCHRA hostile

environment claim. Ferguson filed a Charge of Discrimination relating to this claim on April 20,

2021 and has obtained, or will obtain, a Right to Sue letter from the TWC relating to this claim.

Further, Ferguson is within all applicable statutes of limitations for bringing this claim.

          72.        As a proximate result of ServiceNow’s hostile work environment, Ferguson has

suffered and will continue to suffer damages including, but not limited to, lost wages, lost


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employment benefits, lost PTO, loss of earning capacity, inconvenience, injury to Ferguson’s

reputation and professional standing, and emotional pain.

          73.        In addition, Ferguson is entitled to recover compensatory and/or punitive damages

from ServiceNow because the facts demonstrate that ServiceNow permitted and sanctioned or

ratified this hostile work environment with malice or with reckless indifference to Ferguson’s

state-protected rights. See TEX. LAB. CODE § 21.2585. Accordingly, Ferguson asks that

compensatory and exemplary damages be awarded against ServiceNow.

          74.        Further, Ferguson was required to retain attorneys to prosecute this action and has

agreed to pay the retained attorneys a reasonable fee. Pursuant to § 21.259 of the Texas Labor

Code, Ferguson seeks recovery of his reasonable and necessary attorney’s fees and costs.


                                                     VIII.
                                             RESERVATION OF RIGHTS

          75.        Ferguson specifically reserves the right to bring additional causes of action and seek

additional relief against ServiceNow and to amend this Complaint as necessary as uncovered in

Ferguson’s investigation and/or as further discovery is conducted in this matter. Ferguson’s

investigation continues.


                                                             IX.
                                                        JURY DEMAND

          76.        Demand is hereby made for this Court empanel a lawful jury to hear this case.


                                                  X.
                                      DAMAGES FOR MENTAL ANGUISH

          77.        As a direct and proximate result of Defendant’s actions or inactions and the willful

and malicious nature of the wrongs committed against the Plaintiff, Plaintiff has suffered and will

suffer past, present and future severe mental anguish, which he pleads to recover at trial.



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                                                        XI.
                                                LIQUIDATED DAMAGES

          78.        As a consequence of the foregoing facts showing unlawful discriminatory practices

with malice or reckless indifference to Plaintiff’s federally-protected rights, Plaintiff is entitled to

liquidated damages as outlined in the ADEA. See 29 U.S.C. § 626(b).


                                                         XII.
                                                  PUNITIVE DAMAGES

          79.        As a consequence of the foregoing clear and convincing facts and the willful and

malicious nature of the wrongs committed against the Plaintiff, Plaintiff is entitled to exemplary

damages. See TEX. LAB. CODE § 21.2585.


                                                     XIII.
                                          PUNITIVE DAMAGES – NO CAP

          80.        A plaintiff who successfully prosecutes state law claims by proving malice by clear

and convincing evidence can recover exemplary damages under Section 41.003(a)(2) of the Texas

Civil Practice and Remedies Code. Punitive Damages are sought for the malicious hostile

environment, discrimination and retaliation practiced by Defendant in this case. Accordingly, the

Texas statutory caps are inapplicable.


                                           XIV.
                           REASONABLE ATTORNEYS’ AND EXPERT FEES

          81.        Per the ADEA (29 U.S.C. §§ 216(b) and 626(b)) and TEX. LAB. CODE 21.259, as

amended, Plaintiff seeks to recover his reasonable and necessary attorneys’ fees and reasonable

expert fees incurred in prosecuting each of Plaintiff’s ADEA and TCHRA claims.




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                                                               XV.
                                                             PRAYER

          WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that Defendant be cited to

 appear and answer this Complaint. Plaintiff further requests that on final trial, the Court enter

 judgment for Plaintiff and against Defendant, and award Plaintiff the following relief:

                     a.        an amount in excess of the minimum jurisdictional requirements of this Court,
                               for compensatory damages, lost compensation and benefits to trial and
                               following trial, mental anguish damages, liquidated damages, and punitive
                               damages;

                     b.        reasonable attorneys’ fees and reasonable expert fees;

                     c.        reasonable paralegal fees;

                     d.        costs of court;

                     e.        pre- and post-judgment interest at the highest rate allowed by law; and

                     f.        for such other and further relief, general or special, at law or in equity, to which
                               Plaintiff may be justly entitled.


                                                               Respectfully submitted,


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                                                               FERGUSON

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